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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                      :   Hon. William H. Walls
                V.
                                                   Criminal No. 18-379 (WHW)
 GERMAINE H. KING,
  a/Ida “Germaine Howard,” and                 $   VERDICT FORM AS TO
 DANIEL K. DXRAMS,                                 DEFENDANT GERMAINE H. KING
  currently known as “Daniel Kusi,”                a/k/a “Germaine Howard”
  formerly known as “Danny D,
  Dxrams”


       1.      As to Count One, which charges Defendant King with conspiracy to commit bank
and mail fraud from about March 2014 through about July 2015, we, the jury, unanimously find
beyond a reasonable doubt Defendant King:


              NOT GUILTY                           GUILTY____


      2.      As to Count Two, which charges Defendant King with bank fraud on or about
May 12, 2014, we, the jury, unanimously find beyond a reasonable doubt Defendant King:


              NOT GUILTY                           GUILTY____


      3.      As to Count Three, which charges Defendant King with bank fraud on or about
May 12, 2014, we, the jury, unanimously find beyond a reasonable doubt Defendant King:


              NOT GUILTY                           GUILTY


      4.      As to Count Four, which charges Defendant King with bank fraud on or about
May 19, 2014, we, the jury, unanimously find beyond a reasonable doubt Defendant King:


              NOT GUILTY                           GUILTY____
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       5.      As to Count Five, which charges Defendants King and Dxrams with conspiracy to
 commit mail fraud from about February 2017 through about July 2017, we, the jury,
 unanimously find beyond a reasonable doubt Defendant King:


               NOT GUILTY                         GUILTY___


        6.     As to Count Six, which charges Defendants King and Dxrams with mail fraud on
 or about February 27, 2017, we, the jury, unanimously find beyond a reasonable doubt
 Defendant King:


               NOT GUILTY                        GUILTY)(


        7.    As to Count Seven, which charges Defendants King and Dxrams with mail fraud
on or about February 27, 2017, we, the jury, unanimously find beyond a reasonable doubt
Defendant King:


              NOT GUILTY                         GUILTY___


        8.    As to Count Eight, which charges Defendants King and Dxrams with mail fraud
on or about February 27, 2017, we, the jury, unanimously find beyond a reasonable doubt
Defendant King:


              NOT GUILTY                         GUILTY___


        9.    As to Count Nine, which charges Defendants King and Dxrams with mail fraud
on or about February 27, 2017, we, the jury, unanimously find beyond a reasonable doubt
Defendant King:


             NOT GUILTY                         GUILTY___




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       10.    As to Count Ten, which charges Defendants King and Dxrams with mail fraud on
or about March 9, 2017, we, the jury, unanimously find beyond a reasonable doubt Defendant
King:


               NOT GUILTY                          GUILTYX


        11.   As to Count Eleven, which charges Defendants King and Dxrams with mail fraud
on or about April 4, 2017, we, the jury, unanimously find beyond a reasonable doubt Defendant
King:


               NOT GUILTY                          GUILTY   >
        12.   As to Count Twelve, which charges Defendants King and Dxrams with mail fraud
on or about May 2, 2017, we, the jury, unanimously find beyond a reasonable doubt Defendant
King:


              NOT GUILTY                           GUILTY,Y


        13.    As to Count Thirteen, which charges Defendants King and Dxrams with mail
fraud on or about May 9, 2017, we, the jury, unanimously find beyond a reasonable doubt
Defendant King:


              NOT GUILTY                          GUILTY


        14.    As to Count Fourteen, which charges Defendants King and Dxrams with mail
fraud on or about June 21, 2017, we, the jury, unanimously find beyond a reasonable doubt
Defendant King:


              NOT GUILTY                          GUILTY     7—




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         15.    As to Count fifteen, which charges Defendants King and Dxrams with mail fraud
 on or about June 22, 2017, we, the jury, unanimously find beyond a reasonable doubt Defend
                                                                                            ant
 King:


               NOT GUILTY                          GUILTY___




DATE:________

                                                          Foreperson




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